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   4   Telephone: (714) 507-6161
   5
       Attorneys for Plaintiffs-Relators
   6
   7
   8                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   9
  10     UNITED STATES OF AMERICA
         ex rel. IONM LLC, a Delaware             Case No. 2:18-cv-08311-WLH (AS)
  11     corporation and ex rel. JUSTIN
         CHEONGSIATMOY, M.D.; STATE                NOTICE OF REQUEST TO
  12     OF CALIFORNIA ex rel. IONM                EMAIL ATTORNEY CHANG BY
         LLC, a Delaware corporation and ex        FEBRUARY 2, 2024 WITH ALL
  13     rel. JUSTIN CHEONGSIATMOY,                TRUE AND CORRECT CASE
         M.D.; LOS ANGELES COUNTY ex               CORRESPONDENCE WITH
  14     rel. IONM LLC, a Delaware                 THE COURT FOR WHICH
         corporation and ex rel. JUSTIN            ATTORNEY CHANG WAS NOT
  15     CHEONGSIATMOY, M.D.; and                  INCLUDED
         JUSTIN CHEONGSIATMOY,
  16     M.D., in his individual capacity,
  17                  Plaintiffs,
  18            v.
  19     UNIVERSITY OF SOUTHERN
         CALIFORNIA, a California
  20     corporation,
  21     and
  22     USC CARE MEDICAL GROUP,
         INC., a California corporation,
  23                  Defendants.
  24           PLEASE TAKE NOTICE of this request to email Attorney Chang by February
  25   2, 2024 with all true and correct case correspondence with the Court for which
  26
       Attorney Chang was not included. See Attorney Chang’s July 4, 2023 request for all
  27
       correspondence with Judge Sagar to include Defendants’ unilateral submission of the
  28
       “Stipulated” Protective Order to Judge Sagar’s chambers, which Judge Sagar granted
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   1
       at Dkt. 180, despite the fact that Defendants’ unilateral submission of the “Stipulated”

   2   Protective Order violated both Central District of California Court’s Local Rules and

   3   Judge Sagar’s own rules. See also Dkt. 239 at Pages 18-20 and 25.

   4         Defendants still have not complied with Attorney Chang’s January 21, 2024

   5   written request to email Attorney Chang with all ex parte communications Defendants

   6   made in this case and to email Attorney Chang with all records all individuals and/or

   7   parties who signed Exhibit A of the Protective Order, agreeing to be bound by the

   8   terms. See Dkt. 280 at Pages 6-7.

   9         All parties served with this NOTICE either via the Central District of California

  10   Court Notice of Electronic Filing and/or served via email (see Proof of Service linked

  11   to this Notice) should hereby take notice of this request to email Attorney Chang by

  12   February 2, 2024 with all true and correct case correspondence with the Court for

  13   which Attorney Chang was not included.

  14         This request is urgent and time-sensitive in light of the Paul Hasting law firm’s

  15   January 31, 2024 request for a court order to withdraw as counsel of record (Dkt.

  16   284). An example referencing Paul Hasting law firm’s ex parte communications with

  17   the Court is attached hereto as Exhibit A. Paul Hastings is and was Defendants’
  18   counsel of record including on the dates referenced above.
  19          Prior the Court granting any withdrawal of any counsel of record in this case,
  20   all case correspondence with the Court for which Attorney Chang was not included
  21   must be emailed to Attorney Chang.
  22
       Dated: January 31, 2024
  23
                                                     /s/ Alice Chang
  24                                           Alice Chang, Attorneys for Plaintiff-Relators
  25
  26
  27
  28
                                                  2
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                        Exhibit A
    Case 2:18-cv-08311-WLH-AS Document 285 Filed 01/31/24 Page 4 of 4 Page ID #:10060

From: Bailey, Rebekah <bailey@nka.com>
Date: Fri, May 20, 2022 at 11:07 AM
Subject: Redaction Needed in Today's Filing
To: Jonathan Radke <jradke@nelsonhardiman.com>, Mark Hardiman <mhardiman@nelsonhardiman.com>, Mary
Markwell <mmarkwell@nelsonhardiman.com>, paulcane@paulhastings.com <paulcane@paulhastings.com>,
alicebrown@paulhastings.com <alicebrown@paulhastings.com>
Cc: Kornblit, Michelle <mkornblit@nka.com>, Nelson, Kristine <knelson@nka.com>, Alice Chang JDMBA
<alicechangjdmba@gmail.com>, Morgan, Matt <morgan@nka.com>, aashish@desai-law.com <aashish@desai-law.com>

Counsel,

It appears Defendants have filed documents containing Plaintiff’s social security number. Please contact the clerk of the
court and address this today.

Thank you,

Rebekah
From: Cane, Paul <paulcane@paulhasVngs.com>
Date: Fri, May 20, 2022 at 11:14 AM
Subject: Re: RedacVon Needed in Today's Filing
To: Bailey, Rebekah <bailey@nka.com>
Cc: Jonathan Radke <jradke@nelsonhardiman.com>, Mark Hardiman <mhardiman@nelsonhardiman.com>, Mary
Markwell <mmarkwell@nelsonhardiman.com>, Brown, Alice <alicebrown@paulhasVngs.com>, Kornblit, Michelle
<mkornblit@nka.com>, Nelson, KrisVne <knelson@nka.com>, Alice Chang JDMBA <alicechangjdmba@gmail.com>,
Morgan, MaX <morgan@nka.com>, aashish@desai-law.com <aashish@desai-law.com>

We are contacVng the clerk to see if we can ﬁle a redacted version. Sorry, that was inadvertent. Is there anything else
there that you regard as conﬁdenVal?

Paul


From: Bailey, Rebekah <bailey@nka.com>
Date: Fri, May 20, 2022 at 12:10 PM
Subject: RE: Redaction Needed in Today's Filing
To: Cane, Paul <paulcane@paulhastings.com>
Cc: Jonathan Radke <jradke@nelsonhardiman.com>, Mark Hardiman <mhardiman@nelsonhardiman.com>, Mary
Markwell <mmarkwell@nelsonhardiman.com>, Brown, Alice <alicebrown@paulhastings.com>, Kornblit, Michelle
<mkornblit@nka.com>, Nelson, Kristine <knelson@nka.com>, Alice Chang JDMBA <alicechangjdmba@gmail.com>,
Morgan, Matt <morgan@nka.com>, aashish@desai-law.com <aashish@desai-law.com>


Thank you Paul. It appears you also filed his passport number, home address, birthday, and driver’s license in violation
of the ECF filing certification. Refer to Rule 5.2 and L.R. 5.2-1 for rules on redacting this information.
